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Attorney for Plaintiff

IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
FIRST JUDICIAL DISTRICT AT KETCHIKAN

CHELSEA CROWL,
Plaintiff,
v.

PeaceHeelth, WANDRA
MILES, JANE DOE and JOHN
DOE,

Defendants.
Case No. lKE-l7-233 Cl

 

FIRST AMENDED COMPLAIE

 

COMES NOW the plaintiff, through counsel, and for oauses of
action against the defendants complain and allege the following:
l. That plaintiff is now a resident of the state of
Oregon, but in 2001 she had been a lifelong resident of

this Judicial District.

2. That defendant Peacehealth is a state of Washington
entity that does business in Ketcbikan, Alaska as
PeaceHealth Ketchikan Medicel Center.

3. That on or about June 2001 plaintiff, for the purpose

of relieving chronic back pain, underwent breast

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reduction surgery at defendant PeaceHealth’s Ketchikan,
Alaska hospital.

4. That the surgery was conducted by defendant Miles, who
is a medical doctor specializing in plastic surgery, and
her assistants the Does.

5. That the defendants had complete control to the
exclusion of plaintiff of the conduction of the surgery
they performed on plaintiff

6. That soon following the surgery plaintiff became aware
that there were problems with the surgery in that she
suffered a massive infection requiring multiple Visits to
the emergency room, pain medications, and the
administration of IV antibiotics for over a week.

7. Three years after the surgery plaintiff required
liposuction to correct disfigurement resulting from the
original surgery.

8. That on February 1, 2017 plaintiff noticed a sore, itchy
spot near the scar of her original surgery and as she
scratched it a piece of fabric showed, she pulled on it
revealing what seemed to be a deep pocket housing an
endless stuffing of gauze. The more she pulled on the

gauze the thicker it became. She received medical

attention.

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9. That by the second week of February, plaintiff was
experiencing 10 open sores about her left breast, each
producing gauze.

10. That soon after that plaintiff began experiencing
similar sores on her right breast yielding gauze.

ll. That the gauze was left inside plaintiff's chest
during the June 2001 surgery, and would not have been
left inside her but/for defendants' negligence.

12. That plaintiff’s physician Janelle Yutzie, MD, on May
11, 2017 requested pertinent medical records from
defendant PeaceHealth to no avail.

13. That Dr. Yutzie informed defendant that without the
records there was really nothing she could do for
plaintiff, and plaintiff last saw Dr. Yutzie on May 10,
2017.

14. That plaintiff continues to visit various doctors to
no avail except for prescriptions for antibiotics, and
she continues to experience severe pain, mild fevers,
open sores, and resultant anxiety.

WHEREFORE, plaintiff prays for the following relief:
1.For an order to defendant PeaceHealth to produce

copies of all of the records of plaintiff's June

2001 surgery.

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2. For damages for medical costs incurred and
expected to be incurred on account of the botched
June 2001 surgery.

3. For damages on account of plaintiff’s loss of the
ability to maintain employment.

4. For damages for pain, suffering and distress
plaintiff is undergoing and is expected to undergo
on account of the June 2001 surgery,

5. For costs, prejudgment interest, attorney's fees
and

6. For any and all other relief that is just and
equitable in the premises.

Respectfully submitted this Sth day Of August, 2017 at

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Bar No. 8211144

Ketchikan, Alaska.

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